Case 1:07-cr-00029-PLM       ECF No. 126, PageID.1524        Filed 11/01/07    Page 1 of 9



                        UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION




UNITED STATES OF AMERICA,

              Plaintiff,                                File No. 1:07-CR-29

v.                                                      HON. ROBERT HOLMES BELL

KARL ALAN WHITE, JR.,

              Defendant.
_______________________________/

                                      OPINION

       On September 27, 2007, the Court held a bench trial on the forfeiture count of the

first superseding indictment against Defendant Karl Alan White Jr. (Dkt. No. 28, First

Superseding Indictment, Count 9.) The first superseding indictment seeks the forfeiture of

five vehicles; however, at the bench trial the government only sought the forfeiture of two

of the vehicles. The government seeks the forfeiture of the two vehicles based on either:

the vehicles having been obtained with the proceeds of Defendant White's criminal conduct,

21 U.S.C. § 853(a)(1), or the vehicles having been used to facilitate Defendant White's

criminal conduct, 21 U.S.C. § 853(a)(2). Neither the government nor Defendant White

presented any new evidence during the September 27, 2007, bench trial. Instead both parties

relied on the evidence that had been presented during Defendant White's criminal trial,

which was held on July 17-20, 2007. In the course of Defendant White's criminal trial, the

Court heard the live testimony of Terry Anderson, Shannon Bagley, Michael Dawan Barnes,
Case 1:07-cr-00029-PLM        ECF No. 126, PageID.1525           Filed 11/01/07     Page 2 of 9



Ezra Bell, Shaquann Quavus Branson, Mattalis Buchanan, Thomas Burns, Ervin Javonn

Fance, Gary Lee Latham, Victor Ledbetter, Ryan Lee Racine, Danyelle Sanders, Leniya

Stafford, Larry Tillman, Douglas Paul Van Bruggen, Chad Vanderklok, Kristinea Lynn

Vaughn, Harold West, Ted Westra, Karl Alan White Jr., Sharmeka Marie Williams, Bernard

Wogoman, Sean Michael Wright, and Roberto Zuniga. This opinion contains the Court's

findings of fact and conclusions of law.

                                               I.

       On July 20, 2007, a jury found Defendant White guilty on seven counts. (Dkt. No.

94, Jury Verdict.) Count 9, the forfeiture count of the first superseding indictment, identifies

Counts 1, 2, and 5 as the criminal conduct on which the forfeiture is premised. In Count 1

Defendant White was convicted of conspiring to distribute and to possess with intent to

distribute cocaine base between November 21, 2003, and February 23, 2007, 21 U.S.C.

§ 846, 21 U.S.C. § 841(a)(1), (b)(1)(A)(iii), (b)(1)(B)(ii). In Count 2 Defendant White was

convicted of possessing cocaine base with intent to distribute on November 21, 2003, 21

U.S.C. § 841(a)(1), (b)(1)(B)(iii). In Count 5 Defendant White was convicted of possessing

cocaine base with intent to distribute on December 28, 2004, 21 U.S.C. § 841(a)(1),

(b)(1)(A)(iii).

       The government seeks the forfeiture of the following two vehicles ("the Vehicles"):

       One 1982 Cadillac Coupe de Ville, white in color, registered to Anna Marie
       Bullock, VIN 1G6AD4784C9173535 ("1982 Coupe de Ville"), and

       One 1995 Cadillac El Dorado, red in color, registered to Sharmeka Marie
       Williams, VIN 1G6ET1293SU618569 ("1995 El Dorado").

                                               2
Case 1:07-cr-00029-PLM        ECF No. 126, PageID.1526          Filed 11/01/07     Page 3 of 9



                                              II.

         "If the government seeks forfeiture of specific property, the court must determine

whether the government has established the requisite nexus between the property and the

offense." Fed. R. Crim. P. 32.2(b)(1). "The court's determination may be based on evidence

already in the record, including any written plea agreement or, if the forfeiture is contested,

on evidence or information presented by the parties at a hearing after the verdict or finding

of guilt." Id. "[T]he government must prove that property is subject to criminal forfeiture

under section 853(a) by a preponderance of the evidence." United States v. Smith, 966 F.2d

1045, 1052 (6th Cir. 1992). Accord United States v. Layne, 192 F.3d 556, 574-75 (6th Cir.

1999).

                                             III.

         Neither of the Vehicles is registered in Defendant White's name.           However,

Defendant White was in the practice of registering his vehicles in the names of third parties.

(Branson Test. 147:14-25;       White Test. 596:14-17;        Tillman Test. 333:21-336:9.) 1

Defendant White admitted ownership of the 1995 El Dorado and partial ownership of the

1982 Coupe de Ville. (White Test. 596:9-17, 598:18-20.) Several witnesses familiar with

Defendant White testified that they had seen him with the 1982 Coupe de Ville and the 1995

El Dorado. (Branson Test. 121:24-25, 122:7-127:4; Tillman Test. 333:8-20; Vaughn Test.

420:13-18;     Fance Test. 438:23-439:4;     Williams Test. 668:5-14.)      Defendant White


         1
      Throughout this opinion all of the citations to testimony are to the transcript of
Defendant White's criminal trial, Vols. I-III (Dkt. Nos. 100-02).

                                               3
Case 1:07-cr-00029-PLM        ECF No. 126, PageID.1527         Filed 11/01/07    Page 4 of 9



appeared in an article in the Kalamazoo Gazette on custom cars in which he was identified

as the owner of a 1982 Cadillac Coupe de Ville, white in color, and a 1995 Cadillac El

Dorado, red in color. (Trial Ex. 7, Michelle Miron, Riding in Style, Kalamazoo Gazette, Oct.

20, 2005, at A1.) The article in the Kalamazoo Gazette features photographs of Defendant

White with both the 1982 Coupe de Ville and the 1995 El Dorado. (Id. at A1, A2; White

Test. 555:12-25.) Defendant White is the owner of the 1982 Coupe de Ville and the 1995

El Dorado.

       A.     Forfeiture Under 21 U.S.C. § 853(a)(1)

       In order for the Vehicles to be forfeited under 21 U.S.C. § 853(a)(1) the Court must

find that the Vehicles are "property constituting, or derived from, any proceeds the person

obtained, directly or indirectly, as the result of" the conduct Defendant White was convicted

of in Counts 1, 2, or 5. 21 U.S.C. § 853(a)(1).

       Both the 1982 Coupe de Ville and the 1995 El Dorado have been modified. The

1982 Coupe de Ville has: 24-inch spinner rims, a custom maroon-and-white paint job,

surround-sound stereo speakers, and four television monitors. (Trial Ex. 7, at A1.) The

1995 Cadillac El Dorado has: 20-inch rims, Lamborghini-style doors, and three television

monitors. (Id.) Defendant White paid $2,000.00 for the 1982 Coupe de Ville and has spent

at least $15,000.00 on modifications to it. (Id. at A2.)

       Defendant White contends that he is an aspiring rapper. (Tr. Ex. 7, at A1; White

Test. 552:22-23.) Defendant White testified that he does not have a recording contract.

(White Test. 552:22-23, 554:8-10.) Defendant White further testified that he has not sold

                                              4
Case 1:07-cr-00029-PLM        ECF No. 126, PageID.1528         Filed 11/01/07     Page 5 of 9



any beats, tracks, or lyrics. (Id. at 554:7-10.) Several of Defendant White's co-conspirators

testified that they had never known Defendant White to have recorded a rap album, rapped

in public, or produced someone else's rap album. (Branson Test. 149:24-25, 150:18-151:2;

Fance Test. 445:17-24; Wogoman Test. 259:3-23.) Additionally, a witness familiar with

the rap and hip-hop music scene in Kalamazoo testified that she had never known Defendant

White to have recorded a rap album, rapped in public, or produced someone else's rap

album. (Vaughn Test. 421:16-25.) Defendant White called Michael Dawan Barnes, who

owns Benji Boy Records LLC in Kalamazoo, Michigan. (Barnes Test. 673:20-674:11.)

Benji Boy Records works with hip-hop, rap, and R&B artists. (Id. at 674:12-675:7.) Benji

Boy Records has not signed Defendant White. (Id. at 677:18-21, 678:14-24.) Moreover,

neither Benji Boy Records nor Mr. Barnes have ever paid Defendant White for any music.

(Id. at 678:25-679:2.) Defendant White also called Mattalis Buchanan, who has been signed

by Benji Boy Records. (Mattalis Test. 680:3-18.) Mr. Buchanan saw Defendant White in

the Benji Boy studio on many occasions, but is not aware of anyone using any of Defendant

White's beats or tracks. (Id. at 681:10-22.) Mr. Buchanan never paid Defendant White for

any work. (Id. 681:23-24.)

       Defendant White testified that he worked for Fuller Communications and did other

odd jobs. (White Test. 551:24-552:22, 553:8-13, 600:20-24.) Defendant White did not file

tax returns for the years 2003, 2004, 2005, or 2006. (Trial Tr. 535:7-21; Trial Ex. 24, I.R.S.

Certification of Lack of Record.) Defendant White did not provide any pay stubs or

documentation to support his having been employed by Fuller Communications. (White

                                              5
Case 1:07-cr-00029-PLM        ECF No. 126, PageID.1529         Filed 11/01/07     Page 6 of 9



Test. 592:4-12.) Defendant White's testimony about having been legitimately employed was

contradicted by several witnesses who testified that they had never known Defendant White

to have a legitimate job. (Branson Test. 148:24-149:23; Stafford Test. 488:9-11; Vaughn

Test. 421:10-15; White Test. 590:8-10; Wogoman Test. 258: 16-22.)

       The jury's conviction on Counts 1, 2, and 5, established that Defendant White was

distributing cocaine and cocaine base. (Jury Verdict, Counts 1, 2, 5.) Defendant had large

quantities of cash as a result of distributing cocaine and cocaine base. (Branson Test. 127:5-

12; Fance Test. 444:21-445:5; Stafford Test. 487:10-488:8; Tillman Test. 330:11-333:7.)

Defendant White used this cash to live a "party" lifestyle that included buying expensive

cars. (Branson Test. 120:18-121:25; Tillman Test. 330:23-331:16; Vaughn Test. 416:11-

417:4.) Defendant White had minimal, if any, legitimate income. Defendant White did

testify that he received college financial aid of between $2,500.00 and $4,500.00 per

semester.   (White Test. 590:15-591:25.)      Even with college financial aid of between

$2,500.00 and $4,500.00 per semester, Defendant White did not have sufficient legitimate

income to purchase and modify the 1982 Coupe de Ville and the 1995 El Dorado. Thus, the

only source of income that Defendant White could have used to purchase and modify the

1982 Coupe de Ville and the 1995 El Dorado was the proceeds from distributing cocaine

and cocaine base.

       B.     Forfeiture Under 21 U.S.C. § 853(a)(2)

       In order for the Vehicles to be forfeited under 21 U.S.C. § 853(a)(2) the Court must

find that the Vehicles were "used, or intended to be used, in any manner or part, to commit,

                                              6
Case 1:07-cr-00029-PLM       ECF No. 126, PageID.1530          Filed 11/01/07    Page 7 of 9



or to facilitate the commission of" the conduct Defendant White was convicted of in Counts

1, 2, or 5. 21 U.S.C. § 853(a)(2). A sufficient nexus is established between an automobile

and illegal activity to justify forfeiture when a court finds that the automobile was used as

transportation to and from drug transactions for which the defendant has been convicted.

United States v. Lewis, 987 F.2d 1349, 1356-57 (8th Cir. 1993).

       Defendant White drove the 1995 El Dorado to the Hilltop Apartments in Kalamazoo

to sell Shaquann Branson nine ounces of cocaine base. (Wogoman Test. 244:5-247:12.)

Starting in December of 2004 and continuing until the fall of 2006, Ervin Javonn Fance was

buying one kilo of cocaine or cocaine base from Defendant White about once a week.

(Fance Test. 435:22-438:11, 443:10-444:11.) Defendant White would meet Mr. Fance at

one of two different apartment complexes for these weekly sales of cocaine or cocaine base.

(Id. at 438:12-22.) Mr. Fance saw Defendant White arrive for these transactions in both the

1982 Coupe de Ville and the 1995 El Dorado. (Id. at 438:23-439:4.)

       Defendant White used the 1982 Coupe de Ville and the 1995 El Dorado to drive to

transactions in which he sold cocaine or cocaine base. Therefore, Defendant White used the

1982 Coupe de Ville and the 1995 El Dorado to facilitate the conduct he was convicted of

in Count 1.

       In Count 2 Defendant White was convicted of possessing cocaine base with intent to

distribute on November 21, 2003. During the transaction on November 21, 2003, Defendant

White drove a Cadillac Escalade, not the 1982 Coupe de Ville or the 1995 El Dorado.

(Branson Test. 152:14-24.) Therefore, neither the 1982 Coupe de Ville nor the 1995 El

                                              7
Case 1:07-cr-00029-PLM       ECF No. 126, PageID.1531        Filed 11/01/07   Page 8 of 9



Dorado was used to facilitate the conduct Defendant White was convicted of in Count 2.

       In Count 5 Defendant White was convicted of possessing cocaine base with intent to

distribute on December 28, 2004. During the transaction on December 28, 2004, Defendant

White was a passenger in a Buick LeSabre, not the 1982 Coupe de Ville or the 1995 El

Dorado.     (Vanderklok Test. 196:24-197:6, 199:19-201:12, 223:22-224:1.)      Therefore,

neither the 1982 Coupe de Ville nor the 1995 El Dorado was used to facilitate the conduct

Defendant White was convicted of in Count 5.

                                            IV.

       For the reasons explained in this opinion, by a preponderance of the evidence the

Court finds the following facts:

       1.      One 1982 Cadillac Coupe de Ville, white in color, registered to Anna
               Marie Bullock, VIN 1G6AD4784C9173535, was purchased with
               proceeds Defendant White obtained as the result of the conduct
               Defendant White was convicted of in Counts 1, 2, and 5.

       2.      One 1995 Cadillac El Dorado, red in color, registered to Sharmeka
               Marie Williams, VIN 1G6ET1293SU618569, was purchased with
               proceeds Defendant White obtained as the result of the conduct
               Defendant White was convicted of in Counts 1, 2, and 5.

       3.      One 1982 Cadillac Coupe de Ville, white in color, registered to Anna
               Marie Bullock, VIN 1G6AD4784C9173535, was used to facilitate the
               commission of the conduct Defendant White was convicted of in
               Count 1.

       4.      One 1995 Cadillac El Dorado, red in color, registered to Sharmeka
               Marie Williams, VIN 1G6ET1293SU618569, was used to facilitate the
               commission of the conduct Defendant White was convicted of in
               Count 1.

                                            V.

                                             8
Case 1:07-cr-00029-PLM        ECF No. 126, PageID.1532          Filed 11/01/07     Page 9 of 9



         The Court has found that the Vehicles were purchased with proceeds from the

conduct Defendant White was convicted of in Counts 1, 2, and 5. See supra Parts III.A &

IV.     The Court has also found that the Vehicles were used to facilitate the conduct

Defendant White was convicted of in Count 1. See supra Parts III.B & IV. Therefore, the

Court makes the following conclusions of law:

         1.     One 1982 Cadillac Coupe de Ville, white in color, registered to Anna
                Marie Bullock, VIN 1G6AD4784C9173535, is subject to forfeiture
                under both 21 U.S.C. § 853(a)(1) and 21 U.S.C. § 853(a)(2).

         2.     One 1995 Cadillac El Dorado, red in color, registered to Sharmeka
                Marie Williams, VIN 1G6ET1293SU618569, is subject to forfeiture
                under both 21 U.S.C. § 853(a)(1) and 21 U.S.C. §853(a)(2).

Based on these conclusions of law, in accordance with Federal Rule of Criminal Procedure

32.2(b)(2), the Court will enter a preliminary order of forfeiture directing the forfeiture of

the Vehicles without regard to any third party's interest in all or part of them.            A

determination of the interests of any third parties in the Vehicles shall be deferred until any

third party files a claim in an ancillary proceeding under Rule 32.2(c).




Date:         November 1, 2007              /s/ Robert Holmes Bell
                                            ROBERT HOLMES BELL
                                            CHIEF UNITED STATES DISTRICT JUDGE




                                               9
